   Case 4:22-cv-00430-Y Document 22 Filed 07/11/22                 Page 1 of 6 PageID 206



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

EUGENIO VARGAS,                        §
                                       §
   Plaintiff/Counterclaim Defendant,   §
                                       §
v.                                     §             Civil Action No. 4:22-cv-00430-O
                                       §
ASSOCIATION OF PROFESSIONAL §
FLIGHT ATTENDANTS, JULIE               §
HEDRICK, AND ERIK HARRIS,              §
                                       §
   Defendants/Counterclaim Plaintiffs. §



              PLAINTIFF’S DISCLOSURES PURSUANT TO F.R.C.P. 26 (a)

        Pursuant to this Court’s Order of June 13, 2022 (Dkt. No. 13), counsel for

Plaintiff/Counterclaim Defendant Eugenio Vargas (“Plaintiff”) submits these disclosures

required by Federal Rule of Civil Procedure 26(a)(1) as follows:


  (i)     the name and, if known, the address and telephone number of each individual
          likely to have discoverable information—along with the subjects of that
          information—that the disclosing party may use to support its claims or defenses,
          unless the use would be solely for impeachment;


          1. Any and all former and current members of the Board of Directors of the Association
              of Professional Flight Attendants and its affiliates from January 1, 2015 to current
              whose current national headquarters location includes but is not limited to 1004 West
              Euless Boulevard, Euless, Texas 76040. (817) 540-0208. Information and testimony
              regarding claims for violations of Breach of Fiduciary Duty, Breach of Union
              Constitution, Violation of Member’s Bill of Rights under Labor Management
              Reporting and Disclosure Act.


          2. Any and all former and current national officers of the Association of Professional
              Flight Attendants and its affiliates from January 1, 2015 to current whose current
                                                1
Case 4:22-cv-00430-Y Document 22 Filed 07/11/22              Page 2 of 6 PageID 207


        national headquarters location includes but is not limited to 1004 West Euless
        Boulevard, Euless, Texas 76040. (817) 540-0208.           Information and testimony
        regarding claims for violations of Breach of Fiduciary Duty, Breach of Union
        Constitution, Violation of Member’s Bill of Rights under Labor Management
        Reporting and Disclosure Act.

     3. Any and all staff current and former members of the Association of Professional
        Flight Attendants and its affiliates from January 1, 2015 to current whose current
        national headquarters location includes but is not limited to 1004 West Euless
        Boulevard, Euless, Texas 76040. (817) 540-0208.              Information, testimony,
        correspondence, and documentation regarding claims for violations of Breach of
        Fiduciary Duty, Breach of Union Constitution, Violation of Member’s Bill of Rights
        under Labor Management Reporting and Disclosure Act.

     4. Any and all current and former members of the executive committee of the
        Association of Professional Flight Attendants and its affiliates from January 1, 2015
        to current whose current national headquarters location includes but is not limited to
        1004 West Euless Boulevard, Euless, Texas 76040. (817) 540-0208. Information and
        testimony regarding claims for violations of Breach of Fiduciary Duty, Breach of
        Union Constitution, Violation of Member’s Bill of Rights under Labor Management
        Reporting and Disclosure Act.

     5. Any and all current and former members of the legal team of the Association of
        Professional Flight Attendants and its affiliates from January 1, 2015 to current whose
        current national headquarters location includes but is not limited to 1004 West Euless
        Boulevard, Euless, Texas 76040. (817) 540-0208.           Information and testimony
        regarding claims for violations of Breach of Fiduciary Duty and Violation of
        Member’s Bill of Rights under Labor Management Reporting and Disclosure Act.

     6. Any and all certified public accountants, accountants, partners, associates, staff
        members and affiliates of Wood, Stephens & O’Neil, L.L.P., its predecessors,
        affiliates and assigns whose current address includes but is not limited to 6300
        Ridglea Place, Suite 318, Fort Worth, Texas 76116. (817) 377-1700. Information and
                                          2
    Case 4:22-cv-00430-Y Document 22 Filed 07/11/22                 Page 3 of 6 PageID 208


                 testimony regarding claims for violations of Breach of Fiduciary Duty, Breach of
                 Union Constitution, Violation of Member’s Bill of Rights under Labor Management
                 Reporting and Disclosure Act.

            7. Bob Ross, c/o KD Phillips Law , 5700 Tennyson Parkway, Suite 300, Plano Texas
                 75024

            8. Eugenio Vargas, c/o KD Phillips Law , 5700 Tennyson Parkway, Suite 300, Plano
                 Texas 75024

            9. Heidi Morgan: 704 Navaho St, Jupiter, Florida 33458

            10. Nena Martin: 1404 Grizzly Hollow, Wentzville, MO 63385

            11. Ruben R. Armendariz, Arbitrator, 8610 Cheviot Heights, San Antonio, Texas 78254
                 (210) 370860




    (ii)    a copy—or a description by category and location—of all documents,
            electronically stored information, and tangible things that the disclosing party has
            in its possession, custody, or control and may use to support its claims or defenses,
            unless the use would be solely for impeachment;
            1.   Copy of Arbitration Decision
            2.   Transcripts from Arbitration Hearing
            3.   Email correspondence between the parties regarding the arbitration
            4.   Copy of Transition Agreement
            5.   Correspondence from APFA to Plaintiff regarding wages
            6.   Copy of Signed Promissory Note between APFA and Plaintiff
            7.   Agreement between APFA and Laura Glading
            8.   APFA Constitution and Policies

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    (iii)   a computation of each category of damages claimed by the disclosing party—who
            must also make available for inspection and copying as under Rule 34 the
            documents or other evidentiary material, unless privileged or protected from
            disclosure, on which each computation is based, including materials bearing on the
            nature and extent of injuries suffered; and

            (1) Legal Fees to Date: $10,824.48
            (2) Arbitration and Costs Assessed in Arbitration Fees: $8,623.17 + Additional Costs
                                                 3
     Case 4:22-cv-00430-Y Document 22 Filed 07/11/22                       Page 4 of 6 PageID 209


            (3)   Promissory Note: $4,143.57
            (4)   Lost Income: $3,096.50
            (5)   Damages for Breach of Credit Information: $4,000
            (6)   Reputational Harm: unknown
            (7)   Lost Employment Opportunities: unknown
            (8)   Punitive Damages: unknown

    (iv)    for inspection and copying as under Rule 34, any insurance agreement under
            which an insurance business may be liable to satisfy all or part of a possible
            judgment in the action or to indemnify or reimburse for payments made to satisfy
            the judgment.

            (1) Eugenio Vargas was insured per Federal Law mandates; however, all policy
                documents were left in possession of the Association of Professional Flight
                Attendants upon his departure in 2018, and no copies were retained, per Union
                Policy. He has not been provided this information to date, therefore is unable to
                provide the Defendants with this information.

 Date: July 11 , 2022                              Respectfully Submitted
                                                     /s/ Kerri Phillips
                                                   KERRI PHILLIPS
                                                   Texas Bar No. 24065906
                                                   HEATHER ABREU
                                                   Texas Bar No. 24122577
                                                   K.D. Phillips Law Firm, PLLC
                                                   5700 Tennyson Parkway, Suite 300
                                                   Plano, Texas 75024
                                                   Phone: (972) 327-5800
                                                   Fax: (940) 400-0089
                                                   Email: kerri@KDphillipslaw.com
                                                   Email: Heather@KDphillipslaw.com

                                                   Counsel for Plaintiff Eugenio Vargas



                                        CERTIFICATE OF SERVICE

I certify that on this 11h day of July 2022, I served a true and correct copy of the foregoing to the below
persons through electronic filing and email.

SANFORD R. DENISON               denison@baabdenison.com
MARGOT A. NIKITAS                MNikitas@apfa.org
WILLIAM W. OSBORNE                b.osborne@osbornelaw.com


                                          /s/ Kerri Phillips
                                          _________________________________

                                                      4
Case 4:22-cv-00430-Y Document 22 Filed 07/11/22   Page 5 of 6 PageID 210


                              Kerri Phillips




                                   5
Case 4:22-cv-00430-Y Document 22 Filed 07/11/22   Page 6 of 6 PageID 211




                                  6
